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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA              )
                                      )
                                      )
v.                                    )     Case No. 21-cr-00040-TNM
                                      )
FEDERICO KLEIN.                       )
                                      )
                                      )
                  Defendant           )
                                      )

                           APPEARANCE OF COUNSEL

To:   The clerk of court and all parties of record

     I am admitted or otherwise authorized to practice in this court, and I
appear in this case as counsel for:

Defendant Federico Klein



Dated: March 13, 2023                       Respectfully Submitted,

                                            /s/ William L. Shipley
                                            William L. Shipley, Jr., Esq.
                                            PO BOX 745
                                            Kailua, Hawaii 96734
                                            Tel: (808) 228-1341
                                            Email: 808Shipleylaw@gmail.com

                                            Attorney for Defendant
